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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


HARRIET TUBMAN
FREEDOM FIGHTERS CORP.,

       Plaintiff,                             Case No.: 4:21cv242-MW/MAF
v.

CORD BYRD, et al.,

     Defendants.
__________________________/
                                    JUDGMENT

       Plaintiff is entitled to judgment against Defendants in the amount of

$232,412.78 in attorneys’ fees, for which sum let execution rest.

                                              JESSICA J LYUBLANOVITS,
                                              CLERK OF COURT


February 5, 2025                              s/eÉÇÇ|x UtÜ~xÜ
DATE                                          DEPUTY CLERK
